    Case 1:23-cv-06414-JGK   Document 160   Filed 03/09/25   Page 1 of 9



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
BANCO SAN JUAN INTERNACIONAL, INC.,

                      Plaintiff,                 23-cv-6414 (JGK)

             - against -                         MEMORANDUM OPINION AND
                                                 ORDER
THE FEDERAL RESERVE BANK OF NEW
YORK, ET AL.,

                     Defendants.
 ────────────────────────────────────
JOHN G. KOELTL, District Judge:

     The plaintiff, Banco San Juan Internacional, Inc. (“BSJI”),

a Puerto Rico International Banking Entity (“IBE”), brought this

action against the defendants, the Federal Reserve Bank of New

York (“FRBNY”) and the Board of Governors of the Federal Reserve

System (“Board”), alleging that the defendants wrongfully

terminated BSJI’s master account with the FRBNY (the “Master

Account”).

     On January 8, 2025, this Court granted the defendants’

motions to dismiss and dismissed without prejudice the claims

alleged in BSJI’s First Amended Complaint. ECF No. 152. The

Court assumes familiarity with that Opinion & Order and the

procedural history leading up to the decision. Banco San Juan

Internacional, Inc. v. The Fed. Reserve Bank of New York, --- F.

Supp. 3d ----, 2025 WL 44259, at *15 (S.D.N.Y. Jan. 8, 2025)

(“BSJI II”).



                                   1
    Case 1:23-cv-06414-JGK   Document 160   Filed 03/09/25   Page 2 of 9



     BSJI now moves for leave to amend, seeking to file the

proposed Second Amended Complaint (“PSAC”). For the following

reasons, BSJI’s motion for leave to amend is denied.

                                   I.

     Leave to amend should be freely granted “when justice so

requires.” See Fed. R. Civ. P. 15(a)(2).1 However, “[p]roposed

amendments are futile, and thus must be denied, if they would

fail to cure prior deficiencies or to state a claim under Rule

12(b)(6) of the Federal Rules of Civil Procedure.” Tannerite

Sports, LLC v. NBCUniversal News Grp., 864 F.3d 236, 252 (2d

Cir. 2017). In evaluating futility, a court must consider both

the proposed amendments and the original complaint, “accepting

as true all non-conclusory factual allegations therein, and

drawing all reasonable inferences in the plaintiff’s favor.”

Pyskaty v. Wide World of Cars, LLC, 856 F.3d 216, 225 (2d Cir.

2017).

                                  II.

     BSJI proposes the addition of two claims. First, in

proposed Count II, BSJI alleges that the Board issued the

Guidelines for Evaluating Account and Service Requests

(“Guidelines”) without statutory authority in violation of




1 Unless otherwise noted, this Memorandum Opinion and Order omits
all internal alterations, citations, footnotes, and quotation
marks in quoted text.
                                   2
    Case 1:23-cv-06414-JGK   Document 160   Filed 03/09/25   Page 3 of 9



section 248a of the Federal Reserve Act (“FRA”), 12 U.S.C. §

248a, and in doing so, acted arbitrarily, capriciously, and

abused its discretion in violation of section 706 of the

Administrative Procedure Act (“APA”), 5 U.S.C. § 706. PSAC ¶¶

186–93, ECF No. 154-1. Second, in proposed Count VIII, BSJI

alleges that the FRBNY discriminated against BSJI on the basis

of BSJI’s Venezuelan national origin, in violation of the Fifth

Amendment to the United States Constitution. PSAC ¶¶ 228–33.

     Because the two proposed counts fail to assert a claim to

relief that is plausible on its face, see Bell Atl. Corp. v.

Twombly, 550 U.S. 554, 570 (2007), and for the additional

reasons provided below, the proposed amendments are futile, and

thus leave to amend must be denied. See Boyette v. Montefiore

Med. Ctr., No. 22-cv-5280, 2024 WL 1484115, at *4 (S.D.N.Y. Apr.

5, 2024).

                                  III.

     Proposed Count II alleges that the Board violated section

248a of the FRA and section 706 of the APA. Each alleged

violation is addressed in turn.

     With respect to the FRA, BSJI II renders futile the

proposed amendment. “The law of the case doctrine forecloses

reconsideration of issues that were decided . . . during prior

proceedings.” Doe v. E. Lyme Bd. of Educ., 962 F.3d 649, 662 (2d

Cir. 2020). “[W]hen a court has ruled on an issue, that decision

                                   3
    Case 1:23-cv-06414-JGK   Document 160   Filed 03/09/25   Page 4 of 9



should generally be adhered to by that court in subsequent

stages in the same case unless cogent and compelling reasons

militate otherwise.” Johnson v. Holder, 564 F.3d 95, 99 (2d Cir.

2009). “Cogent and compelling reasons . . . may include an

intervening change in law, availability of new evidence, or the

need to correct a clear error or prevent manifest injustice.”

Choi v. Tower Rsch. Cap. LLC, 2 F.4th 10, 21 (2d Cir. 2021).

     BSJI II ruled that under the FRA, “a Federal Reserve bank

‘may’ grant, deny, or close, in the Federal Reserve bank’s

discretion, any master account.” 2025 WL 44259, at *9 (quoting

12 U.S.C. § 342). BSJI II also held that “nothing in section

248a(c)(2) disturbs the discretion conferred on Federal Reserve

banks pursuant to section 342.” Id. at *13. And BSJI has failed

to identify cogent and compelling reasons justifying a departure

from the rulings in BSJI II; rather, BSJI acknowledges that the

amendment is “likely” futile. ECF No. 154 at 1.

     With respect to the APA, proposed Count II alleges that the

Board acted arbitrarily and capriciously when the Board issued

the Guidelines. PSAC ¶¶ 186–93. BSJI contends that the issuance

of the Guidelines was arbitrary and capricious because the

Guidelines purportedly contravene FRA section 248a, a statutory

provision that BSJI alleges entitles it to a master account.

PSAC ¶¶ 189–90; see also id. ¶ 160 (“By issuing the Guidelines

without proper statutory authority, the Board improperly and

                                   4
    Case 1:23-cv-06414-JGK   Document 160   Filed 03/09/25   Page 5 of 9



unlawfully expanded the FRBNY’s power.”). But BSJI II rejected

that interpretation of the FRA. 2025 WL 44259, at *9, *13. And

BSJI has not alleged or argued that the Board’s issuance of the

Guidelines was arbitrary and capricious for any other reason.

Because this claim relies on BSJI’s flawed interpretation of the

FRA, the proposed amendment would not cure the deficiencies

noted in BSJI II.

     Proposed Count II also alleges that the Board violated the

APA by validating and authorizing the FRBNY’s termination of

BSJI’s Master Account. PSAC ¶ 193. This proposed amendment is

likewise futile. BSJI II determined that “section 248(j)’s grant

of general supervisory authority provides no meaningful standard

against which to judge the agency’s exercise of discretion.”

2025 WL 44259, at *16. Accordingly, “to the extent the Board

possesses any discretion to control or override the FRBNY’s

account-closure decisions,” such discretion is “committed to

agency discretion by law” and thus “jurisdictionally precluded

from review” under the APA. Id.

     Moreover, for the reasons provided in BSJI II, BSJI lacks

constitutional standing to assert the claims in proposed Count

II against the Board. See id. at *13–14. Like the First Amended

Complaint that was dismissed in BSJI II, the PSAC continues to

allege that “the Board at most played a general supervisory

role.” Id. at *14. Although BSJI now “challeng[es] the

                                   5
    Case 1:23-cv-06414-JGK   Document 160   Filed 03/09/25   Page 6 of 9



promulgation of the Guidelines,” ECF No. 159 at 3, BSJI fails to

explain how its challenge to a nonbinding “tiered review

framework,” see PSAC ¶ 65, cures its failure to plead causation

and redressability. BSJI II, 2025 WL 44259, at *13–14.

     Accordingly, an amendment adding proposed Count II would be

futile.

                                  IV.

     Proposed Count VIII alleges that the FRBNY discriminated

against BSJI on the basis of BSJI’s Venezuelan national origin,

in violation of the equal protection component of the Due

Process Clause of the Fifth Amendment. PSAC ¶¶ 228–33. The FRBNY

argues that this amendment would be futile because BSJI lacks a

valid cause of action and because the proposed amendment fails

to state a plausible claim to relief. ECF No. 157 at 2–3. BSJI

disagrees. ECF No. 154 at 2–3; ECF No. 159 at 1–2.

     Proposed Count VIII would be futile for at least two

reasons. First, BSJI has failed to invoke a valid cause of

action. With respect to Bivens, as explained in BSJI II, “the

purpose of Bivens is to deter the officer.” Fed. Deposit Ins.

Corp. v. Meyer, 510 U.S. 471, 485 (1994). And proposed Count

VIII purports to allege a claim only against the FRBNY and not

against any officer or agent. But “to allow a Bivens claim

against federal agencies or instrumentalities, rather than

individual federal officers, ‘would mean the evisceration of the

                                   6
    Case 1:23-cv-06414-JGK   Document 160   Filed 03/09/25   Page 7 of 9



Bivens remedy, rather than its extension.’” BSJI II, 2025 WL

44259, *22 (quoting Corr. Servs. Corp. v. Malesko, 534 U.S. 61,

69–70 (2001)). “Accordingly, an extension of Bivens is

unwarranted” as against the FRBNY. Id.2

     In arguing to the contrary, BSJI relies on inapposite

cases. In Village of Arlington Heights v. Metropolitan Housing

Development Corp., the plaintiffs sued the Village and several

of its officers under sections 1981 and 1982 of the Civil Rights

Act of 1866, 42 U.S.C. §§ 1981 & 1982, and section 1983 of the

Civil Rights Act of 1871, 42 U.S.C. § 1983. Metro. Hous. Dev.

Corp. v. Vill. of Arlington Heights, 517 F.2d 409, 411 (7th Cir.

1975), rev’d sub nom. Vill. of Arlington Heights v. Metro. Hous.

Dev. Corp., 429 U.S. 252 (1977).3 Likewise, in Hayden v. Pataki,

the plaintiffs brought suit “pursuant to 42 U.S.C. § 1983.” No.

00-cv-8586, 2004 WL 1335921, at *1 (S.D.N.Y. June 14, 2004),

aff’d sub nom. Hayden v. Paterson, 594 F.3d 150 (2d Cir. 2010).

In this case, BSJI has not invoked section 1983 or any other

statute as a basis for its claim in proposed Count VIII.




2 BSJI II noted that “Federal Reserve banks, including the FRBNY,
are federal instrumentalities incorporated as private
corporations pursuant to the FRA.” 2025 WL 44259, at *1 (citing
12 U.S.C. §§ 221 & 341 & United States ex rel. Kraus v. Wells
Fargo & Co., 943 F.3d 588, 592 (2d Cir. 2019) (“Kraus”)).
3 In Washington v. Davis, a case brought “under the due process

clause of the Fifth Amendment to the United States
Constitution,” the plaintiffs sued only officers. 426 U.S. 229,
232–33 (1976).
                                   7
    Case 1:23-cv-06414-JGK   Document 160   Filed 03/09/25   Page 8 of 9



     Second, proposed Count VIII fails to allege plausibly any

violation of BSJI’s purported equal protection rights. “Where

the claim is invidious discrimination in contravention of the .

. . Fifth Amendment, . . . the plaintiff must plead and prove

that the defendant acted with discriminatory purpose.” Ashcroft

v. Iqbal, 556 U.S. 662, 676 (2009). An official act is not

“unconstitutional [s]olely because it has a . . .

disproportionate impact.” See Davis, 426 U.S. at 239.

     As the principal proof of discriminatory purpose, proposed

Count VIII alleges that the FRBNY closed the master account of

“nine of ten IBEs owned by Venezuelan nationals.” See PSAC ¶

231; ECF No. 159 at 1. But that closure percentage is “merely

consistent with” the FRBNY’s liability and thus “stops short of

the line between possibility and plausibility.” Twombly, 550

U.S. at 557.

     “[G]iven more likely explanations,” BSJI’s alleged proof

“do[es] not plausibly establish” the FRBNY’s discriminatory

purpose. See Iqbal, 556 U.S. at 681. Namely, BSJI’s complaints

and the documents incorporated by the complaints show that the

FRBNY terminated BSJI’s Master Account only after an account

suspension, BSJI’s noncompliance with the Supplemental Terms,

and the FRBNY’s thorough review of BSJI’s compliance risks. BSJI

II, 2025 WL 44259, at *3–5. The PSAC thus fails to “plead

sufficient factual matter to show that” the FRBNY closed BSJI’s

                                   8
Case 1:23-cv-06414-JGK   Document 160   Filed 03/09/25   Page 9 of 9
